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                       SOUTHERN DISTRICT OF CALIFORNIA                I          ,h! Ir, 30 2012
                                                                           CLERK U S. DISTRICT COURT
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                                                                                                DE~UTv~
UNITED STATES         AMERICA,                   CASE NO. l2CR3346 j~Tr---                  ---~-~~

                        Plaintiff,
                vs.                              JUDGMENT OF DISMISSAL

GISEL NARES (3),

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case aga     the defendant and
     the Court has granted the motion of the Government for dismiss   of
     this case, without prejudice; or

     the Court has dismiss            the case for unnecessary delaYi or

__x__ the Court has granted the motion of the Government for dismissal,
     without prej       cei   or

     the Court has granted the motion of the                fendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in                Indictment/Information:




          IT IS THEREFORE ADJUDGED th                                is hereby discharged.


 DATED: 8/30/12
                                                       S. CRAWFORD
                                                 U.S. MAGISTRATE JUDGE
